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14
15
16                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
17
                                     SAN FRANCISCO DIVISION
18
19   IN RE PACIFIC FERTILITY CENTER                Case No. 3:18-cv-01586-JSC
     LITIGATION
20
                                                   [PROPOSED] ORDER GRANTING
21                                                 DEFENDANT’S AMENDED
     This Document Relates to:                     ADMINISTRATIVE MOTION NO. 2
22   Case No. 3:18-cv-01586                        TO FILE UNDER SEAL MOTION TO
23   (A.B., C.D., E.F., G.H., and I.J.)            EXCLUDE KASBEKAR AND
                                                   WININGER
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       [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO FILE UNDER SEAL NO. 2
                             CASE NO. 3:18-CV-01586-JSC
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            For good cause shown, the Court GRANTS Chart’s Amended Administrative Motion No.
 1
 2   2 to File Under Seal Motion to Exclude Anand Kasbekar and David Wininger seeking to file

 3   under seal:
 4
                  Certain exhibits to the to the Declaration of Kevin M. Ringel in Support of Chart’s
 5
                   Motion to Exclude Plaintiffs’ Experts Anand Kasbekar and David Wininger,
 6
 7                 including:

 8                    Exhibit A – Expert Report of Anand Kasbekar dated November 6, 2020;
 9                    Exhibit B – Expert Rebuttal Report of Anand Kasbekar dated December 4,
10
                       2020;
11
                      Exhibit C - Deposition Transcript of Anand Kasbekar dated December 13,
12
13                     2019;

14                    Exhibit D - Deposition Transcript of Anand Kasbekar dated November 25,
15                     2020;
16
                      Exhibit E - Deposition Transcript of Anand Kasbekar dated December 15,
17
                       2020;
18
19                    Exhibit F – Amended Expert Report of David Wininger dated December 4,

20                     2020;
21
                      Exhibit G – Deposition Transcript of David Wininger dated November 30,
22
                       2020;
23
                      Exhibit H – Expert Report of Franklin Miller dated November 20, 2020;
24
25                    Exhibit I – Expert Rebuttal Report of Franklin Miller dated December 11, 2020;

26                    Exhibit J - Deposition Transcript of Franklin Miller dated December 14, 2020;
27
                       and
28

       [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO FILE UNDER SEAL NO. 2
                             CASE NO. 3:18-CV-01586-JSC
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                       Exhibit K – Expert Rebuttal Report of Ron Parrington dated December 8, 2020.
 1
 2          The Court hereby ORDERS that the following portions of the exhibits to the Declaration

 3   of Kevin M. Ringel in Support of Chart’s Motion to Exclude Anand Kasbekar and David Wininger
 4
     are to be maintained under seal:
 5
                 Exhibit                  Paragraph(s)               Designating Party
 6                 A        Figures 1-74;                                  Chart
 7                          p. 4, ¶1, sentence 4;
                            p. 5 ¶¶ 1, 3;
 8                          p. 6 ¶2;
                            pp. 10 - 37;
 9                          p. 38 ¶ ¶ 2-3
10                          pp. 39– 58;
                            p. 60 No. 3-4;
11                          pp. 61-62; and
                            p. 63 No. 10.
12
13                  B       pp. 1-18;                                      Chart
                            Figures 1-7.
14
                    C       23:3-24:8;                                     Chart
15
                            39:2-40:6;
16                          53:24-54:15;
                            60:16-62:14;
17                          67:24-69:16;
18                          77:17-78:7;
                            88:3-111:23;
19                          112:6-113:1;
                            114:4-129:13;
20                          130:4-150:5;
21                          164:5-169:14.

22                  D       18:12-25;                                      Chart
                            pp. 19-20;
23
                            21:1-11;
24                          26:18-25;
25                          pp. 27-31;
                            32:1-10;
26                          37:8-12;
27                          51:22-25;
                            pp. 52-64;
28

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                              CASE NO. 3:18-CV-01586-JSC
        Case 3:18-cv-01586-JSC Document 647-2 Filed 01/08/21 Page 4 of 5




                    65:1-17;
 1
                    80:23-25;
 2                  p. 84;
 3                  90:3-25;
                    p. 91;
 4                  92:1-10;
 5                  93:11-25;
                    pp. 94-95;
 6
                    96:1-4;
 7                  97:15-25;
                    pp. 98-111;
 8
                    112:24-25
 9                  pp. 113-123;
10                  124:1-20;
                    129:2-25;
11                  130:1-12;
12                  130:14-25;
                    p. 131;
13                  132:1-21.
14            E     11:22-12:21;                          Chart
                    13:20-25:24;
15                  28:6-30:24;
16                  33:21-42:13;
                    44:24-45:14;
17                  52:10-55:19.
18
              F     ¶35;                                 Plaintiffs
19                  ¶38-40;
                    ¶44;
20                  ¶47;
21                  ¶49-57;
                    ¶59-60;
22                  ¶64-67;
                    ¶70;
23                  Subheadings IV(B)(i)-(iv).
24            G     37:1-4, 22-24; and                    Chart
                    77:2-25;
25
                    78;
26                  79:1-2.

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     [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO FILE UNDER SEAL NO. 2
                           CASE NO. 3:18-CV-01586-JSC
           Case 3:18-cv-01586-JSC Document 647-2 Filed 01/08/21 Page 5 of 5




                  H      p. 4, ¶III.E(3);                              Chart
 1
                         pp. 6-7, ¶IV.B;
 2                       p. 8, Section V;
                         pp. 12-22: ¶VI.B (incl. Figures 4-13);
 3                       p. 23, Section VIII.
 4                I      pp. 2-11 (incl. Figures 1-11).                Chart

 5
 6
                  J      11:6-15:1;                                    Chart
 7                       17:10-24:9;
                         25:21-27:1;
 8                       31:2-33:6;
 9                       37:18-44:22;
                         53:11-25
10                       54:1-57:25;
                         79:13-85:11.
11
12                K      pp. 1-9;                                      Chart
                         Appendix 3-20, including Table 1-5
13                       and Figure 1-14.
14
15
16   IT IS SO ORDERED.

17
     Dated: ___________________               _________________________________
18                                             The Honorable Jacqueline Scott Corley
19
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        [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO FILE UNDER SEAL NO. 2
                              CASE NO. 3:18-CV-01586-JSC
